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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        HUAWEI TECHNOLOGIES, CO, LTD, et
                                   7    al.,                                                 Case No. 16-cv-02787-WHO

                                   8                   Plaintiffs,
                                                                                             CIVIL PRETRIAL ORDER
                                   9            v.

                                  10    SAMSUNG ELECTRONICS CO, LTD., et
                                        al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                              A jury trial has been set in this matter for December 3, 2018, beginning at 8:30 A.M. with an
                                  13
                                       attorney conference and jury selection to follow thereafter. A Pretrial Conference has been set for
                                  14

                                  15   November 5, 2018 at 2:00 P.M.

                                  16          The following scheduling deadlines and hearing dates have been set by Judge Spero:

                                  17          Parties to meet and confer on issue regarding the number of products/product families
                                              and Plaintiff shall further reduce number of products by:       12/15/17
                                  18          Updated case management conference statement to Judge Spero: 1/5/18
                                              Further case management conference before Judge Spero:          1/12/18 at 2:00 PM
                                  19          Discovery Cutoff:                                               3/9/18
                                  20          Reduce Assert Patents to no more than 6:                        3/16/18
                                              Reduce Assert Claims to 15:                                     3/16/18
                                  21          Reduce Accused Products to 18:                                  3/16/18
                                              Reduce Invalidity References/Systems/Combinations to 45:        03/23/18
                                  22          Opening Expert Reports:                                         4/13/18
                                              Rebuttal Expert Reports:                                        5/11/18
                                  23          Expert Discovery Cutoff:                                        06/08/18
                                              Reduce Asserted Patents to no more than 5:                      6/15/18
                                  24          Reduce Assert Claims to 10:                                     6/15/18
                                              Reduce Accused Products to 15:                                  06/15/18
                                  25
                                              Limit Invalidity References/Systems/Combinations to 25:         06/22/18
                                  26          Dispositive Motions Hearing & Daubert Motions:                  08/08/18 at 2:00 PM
                                              Reduce Asserted Claims to 5:                                    10/19/18
                                  27          Reduce Accused Products to 10:                                  10/19/18
                                              Limit invalidity references/systems/combinations to 15:         10/26/18
                                  28
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                                   1   1.        Pretrial Conference and Statement

                                   2             Not less than 28 days prior to the Pretrial Conference, counsel shall exchange (but not file

                                   3   or lodge) the papers described in Civil L.R. 16-10(b)(7), (8), (9) and (10), and any motions in

                                   4   limine.
                                                 At least 21 days before the Pretrial Conference, lead trial counsel shall meet and confer
                                   5

                                   6   with respect to:

                                   7                     Preparation and content of the joint pretrial conference statement;

                                   8                     Resolution of any differences between the parties regarding the preparation and
                                   9                      content of the joint pretrial conference statement and the preparation and exchange
                                                          of pretrial materials to be served and filed pursuant to this Order. To the extent
                                  10                      such differences are not resolved, the parties will present the issues in the pretrial
                                  11                      conference statement so that the judge may rule on the matter during the Pretrial
                                                          Conference; and
                                  12
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                                  13                     Settlement.

                                  14
                                                 At least 14 days prior to the Pretrial Conference, the parties shall file a joint pretrial
                                  15
                                       conference statement containing the following information:
                                  16
                                                 a.       The Action
                                  17
                                                          (i) Substance of the Action. A brief description of the substance of claims and
                                  18
                                       defenses that remain to be decided.
                                  19
                                                          (ii) Relief Prayed. A detailed statement of all the relief claimed, particularly
                                  20
                                       itemizing all elements of damages claimed as well as witnesses, documents, or other evidentiary
                                  21
                                       material to be presented concerning the amount of those damages.
                                  22
                                                 b.       The Factual Basis of the Action
                                  23
                                                          (i) Undisputed Facts. A plain and concise statement of all relevant facts not
                                  24
                                       reasonably disputable, as well as which facts parties will stipulate for incorporation into the trial
                                  25
                                       record without the necessity of supporting testimony or exhibits.
                                  26
                                                          (ii) Disputed Factual Issues. A plain and concise statement of all disputed factual
                                  27
                                       issues that remain to be decided.
                                  28
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                                   1                     (iii) Agreed Statement. A statement assessing whether all or part of the action

                                   2   may be presented upon an agreed statement of facts.

                                   3                     (iv) Stipulations. A statement of stipulations requested or proposed for pretrial or

                                   4   trial purposes.

                                   5          c.         Disputed Legal Issues

                                   6                     (i) Points of Law. Without extended legal argument, a concise statement of each

                                   7   disputed point of law concerning liability or relief, citing supporting statutes and decisions setting

                                   8   forth briefly the nature of each party's contentions concerning each disputed point of law,

                                   9   including procedural and evidentiary issues.

                                  10                     (ii) Proposed Conclusions of Law. If the case is to be tried without a jury, unless

                                  11   otherwise ordered, parties should briefly indicate objections to proposed conclusions of law.

                                  12          d.         Trial Preparation
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                                  13                     (i) Witnesses to be Called. A list of all witnesses likely to be called at trial, other

                                  14   than solely for impeachment or rebuttal, together with a brief statement following each name

                                  15   describing the substance of the testimony to be given.

                                  16                     (ii) Exhibits, Schedules and Summaries. A list of all documents and other items to

                                  17   be offered as exhibits at the trial, other than solely for impeachment or rebuttal, with a brief

                                  18   statement following each describing its substance or purpose and the identity of the sponsoring

                                  19   witness. Unless otherwise ordered, parties will indicate their objections to the receipt in evidence

                                  20   of exhibits and materials lodged and that counsel have conferred respecting such objections.

                                  21                     (iii) Estimate of Trial Time. An estimate of the number of court days needed for

                                  22   the presentation of each party’s case, indicating possible reductions in time through proposed

                                  23   stipulations, agreed statements of facts, or expedited means of presenting testimony and exhibits.

                                  24                     (iv) Use of Discovery Responses. Counsel shall cite possible presentation at trial

                                  25   of evidence, other than solely for impeachment or rebuttal, through use of excerpts from

                                  26   depositions, interrogatory answers, or responses to requests for admission. Counsel shall indicate

                                  27   any objections to use of these materials and that counsel has conferred respecting such objections.

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                                   1                   (v) Further Discovery or Motions. A statement of all remaining discovery or

                                   2   motions, including motions in limine.

                                   3           e.      Trial Alternatives and Options

                                   4                   (i) Settlement Discussion. A statement summarizing the status of settlement

                                   5   negotiations and indicating whether further negotiations are likely to be productive.

                                   6                   (ii) Consent to Trial Before a Magistrate Judge. A statement whether reference of

                                   7   all or part of the action to a master or magistrate judge is feasible, including whether the parties

                                   8   consent to a court or jury trial before a magistrate judge, with appeal directly to the Ninth Circuit.

                                   9                   (iii) Amendments, Dismissals. A statement of requested or proposed amendments

                                  10   to pleadings or dismissals of parties' claims or defenses.

                                  11                   (iv) Bifurcation, Separate Trial of Issues. A statement of whether bifurcation or a

                                  12   separate trial of specific issues is feasible and desired.
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                                  13   2.      Witnesses

                                  14           a.      Jury Trials. The Pretrial Conference Statement shall include the witness list

                                  15   required in part by 1(d)(i) above. In addition, in the case of expert witnesses, the summary shall

                                  16   clearly state the expert’s theories and conclusions and the basis therefore and shall be

                                  17   accompanied by a curriculum vitae; if the expert has prepared a report in preparation for the

                                  18   testimony, a copy thereof shall be furnished to opposing counsel. Witnesses not included on the

                                  19   list may be excluded from testifying.

                                  20           b.      Non-Jury Trials. In non-jury cases, any party may serve and lodge with the Court a

                                  21   written narrative statement of the proposed direct testimony of each witness under that party’s

                                  22   control in lieu of a summary. Each statement shall be marked as an exhibit and shall be in a form

                                  23   suitable to be received into evidence.

                                  24   3.      Jury Instructions

                                  25           a.      Joint Set of Instructions. The parties shall jointly prepare a set of jury instructions,

                                  26   and shall file the proposed instructions at least fourteen days prior to the Pretrial Conference. The

                                  27   submission shall contain both agreed upon instructions (which shall be so noted), and contested

                                  28   instructions, all in the order in which they should be read to the jury. Where contested instructions
                                                                                           4
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                                   1   are included, they should be annotated both with the proponent’s authority for seeking the

                                   2   instruction and the opponent’s reason for opposition. Counsel shall deliver to Chambers a copy of

                                   3   the joint submission on a CD/DVD in Word format. The label shall include the case number and a

                                   4   description of the documents.

                                   5           b.      Substance and Format of Instructions. The instructions shall cover all substantive

                                   6   issues and other points not covered by the Ninth Circuit Manual of Model Jury Instructions. Each

                                   7   requested instruction shall be typed in full on a separate page and citations to the authorities upon

                                   8   which the instruction is based shall be included. Instructions shall be brief, clear, written in plain

                                   9   English, and free of argument. Pattern or form instructions shall be revised to address the

                                  10   particular facts and issues of this case.

                                  11           c.      Preliminary Statement and Instructions. If the parties wish to have a preliminary

                                  12   statement read to the jury, and/or preliminary instructions given to the jury, they shall jointly
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                                  13   prepare and file the text of the proposed preliminary statement and/or preliminary instructions at

                                  14   least fourteen days prior to the Pretrial Conference.

                                  15           d.      Voir Dire and Verdict Forms. Each party shall file proposed questions for jury voir

                                  16   dire and a proposed Form of Verdict at least fourteen days prior to the Pretrial Conference.

                                  17   4.      Exhibits

                                  18           a.      Provide Copies of Exhibits to Other Parties. Each party shall provide every other

                                  19   party with one set of all proposed exhibits, charts, schedules, summaries, diagrams, and other

                                  20   similar documentary materials to be used in its case in chief at trial, together with a complete list

                                  21   of all such proposed exhibits. Voluminous exhibits shall be reduced by elimination of irrelevant

                                  22   portions or through the use of summaries. Each item shall be pre-marked with a trial exhibit

                                  23   sticker (“Trial Exhibit No.__”), not deposition exhibit label, and defendant’s exhibit numbers shall

                                  24   be sequenced to begin after plaintiff’s exhibit numbers. If there are numerous exhibits, they

                                  25   should be provided in three-ring binders with marked tab separators. All exhibits that have not

                                  26   been provided as required are subject to exclusion.

                                  27           b.      Stipulations re Admissibility. At least fourteen days prior to the Pretrial

                                  28   Conference, the parties shall make a good faith effort to stipulate to exhibits’ admissibility. If
                                                                                          5
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                                   1   stipulation is not possible, the parties shall make every effort to stipulate to authenticity and

                                   2   foundation absent a legitimate (not tactical) objection.

                                   3          c.      Objections to Exhibits. In addition to the exhibit list, counsel shall confer with

                                   4   respect to any other objections to exhibits in advance of the Pretrial Conference. Each party shall

                                   5   file a statement briefly identifying each item objected to, the grounds for the objection, and the

                                   6   position of the offering party at least fourteen days prior to the date set for the Pretrial Conference.

                                   7          d.      Provide Copies of Exhibits to Court. One set of exhibits shall be provided to the

                                   8   Court in Chambers on the Friday prior to the trial date, in binders, marked, tabbed, and indexed in

                                   9   accordance with Local Rule 16-10(b)(7). Exhibits shall be identified as follows:

                                  10
                                                                     UNITED STATES DISTRICT COURT
                                  11                               NORTHERN DISTRICT OF CALIFORNIA
                                  12                                  TRIAL EXHIBIT 100
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                                  13

                                  14                               CASE NO. _____________________

                                  15
                                                                   DATE ENTERED_________________
                                  16

                                  17                               BY __________________________
                                  18                                          DEPUTY CLERK
                                  19

                                  20   Blocks of numbers shall be assigned to fit the needs of the case (e.g., Plaintiff has 1-100,
                                  21   Defendant has 101-200). The parties shall not mark duplicate exhibits (e.g., plaintiff and
                                  22   defendant shall not mark the same exhibit; only one copy of the exhibit shall be marked).
                                  23          e.      Witness Binders. If all of the exhibits in a case do not fit in one binder, then the
                                  24   parties shall prepare a witness binder for each witness that will testify regarding three or more
                                  25   exhibits.
                                  26          f.      Disposition of Exhibits after Trial. Upon the conclusion of the trial, each party
                                  27   shall retain its exhibits through the appellate process. It is each party’s responsibility to make
                                  28
                                                                                          6
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                                   1   arrangements with the Clerk of Court to file the record on appeal.

                                   2   5.        Motions In Limine

                                   3             Any party wishing to have motions in limine heard prior to the commencement of trial

                                   4   must file them at least fourteen days prior to the date set for the Pretrial Conference. All motions

                                   5   in limine shall be contained in one document, limited to 25 pages pursuant to Civil L.R. 7-2(b),

                                   6   with each motion listed as a subheading. Opposition to the motions in limine shall be contained in

                                   7   one document, limited to 25 pages, with corresponding subheadings, and shall be filed at least

                                   8   seven days prior to the Pretrial Conference. No reply papers will be considered. The motions will

                                   9   be heard at the Pretrial Conference or at such other time as the Court may direct. Nothing in this

                                  10   provision prevents a party from noticing its motions in limine regularly for hearing on or prior to

                                  11   the final date for hearing dispositive motions. No leave to file under seal will be granted with

                                  12   respect to motions in limine.
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                                  13   6.        Other Pretrial Matters

                                  14             a.     Status Conferences. Any party desiring to confer with the Court may, upon notice

                                  15   to all other parties, arrange a conference through the Courtroom Deputy, Jean Davis, at 415-522-

                                  16   2077 or whocrd@cand.uscourts.gov.

                                  17             b.     Settlement Conferences. Parties wishing to arrange a settlement conference before

                                  18   another judge or magistrate judge may do so by contacting the Courtroom Deputy.

                                  19             c.     Daily Transcripts. Should a daily transcript and/or realtime reporting be desired,

                                  20   the parties shall make arrangements with Rick Duvall, Court Reporter Supervisor, at 415-522-

                                  21   2079 or Richard_Duvall@cand.uscourts.gov, at least seven calendar days prior to the trial date.

                                  22   7.        Trial Matters

                                  23             a.     The normal trial schedule will be from 8:00 a.m. to 1:00 p.m. (or slightly longer to

                                  24   finish a witness) with two fifteen minute breaks. Trial is usually held from Monday through

                                  25   Friday.

                                  26             b.     Ordinarily, the Court will set fixed time limits for each side at the Final Pretrial

                                  27   Conference.

                                  28             c.     Expert witnesses are limited to the scope of their expert reports on direct
                                                                                           7
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                                   1   examination. F.R.C.P. 26(a)(2) and 37(c).

                                   2           d.     Parties must meet and confer to exchange any visuals, graphics or exhibits to be

                                   3   used in opening statements. Unless otherwise agreed, the exchange must occur no later than

                                   4   Wednesday before the trial. Any objections not resolved must be filed in writing by Thursday

                                   5   before trial. The parties shall be available by telephone Friday before trial to discuss the issue

                                   6   raised with the Court.

                                   7           e.     The parties shall disclose the witnesses whom they will call at trial on any given

                                   8   day by at least 2:00 p.m. the court day before their testimony is expected. Failure to have a

                                   9   witness ready to proceed at trial will usually constitute resting.

                                  10           f.     The Court takes a photograph of each witness prior to the witness’s testimony.

                                  11           g.     Other than a party or party representative, fact witnesses are excluded from the

                                  12   courtroom until they are called to testify, and may not attend in the gallery until their testimony is
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                                  13   complete.

                                  14           h.     The Court does not typically allow bench conferences. If there are matters that

                                  15   need to be raised with the Court outside the presence of the jury, the parties should raise them in

                                  16   the morning before trial or during recess. With advance notice, the Court is usually available at

                                  17   7:30 a.m. to address such matters.

                                  18   8.      Miscellaneous

                                  19           a.     Please DO NOT call Chambers. If you need to contact the Courtroom Deputy,

                                  20   please call (415) 522-2077 and leave a message if the deputy is not available, or email

                                  21   whocrd@cand.uscourts.gov.

                                  22           b.     Copies. Each document filed or lodged with the Court must be accompanied by a

                                  23   three-hole punched copy for use in the Judge’s chambers. In addition, one copy of the witness and

                                  24   exhibit lists should be furnished to the court reporter.

                                  25   IT IS SO ORDERED.

                                  26   Dated: November 2, 2017
                                                                                              ________________________
                                  27                                                          William H. Orrick
                                  28                                                           United States District Judge

                                                                                          8
